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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                          Criminal No. 21-CR-399 (RDM)
       v.
ROMAN STERLINGOV,
                Defendant.



     MOTION TO QUASH SUBPOENA BY NON-PARTY MICHAEL GRONAGER
              AND INCORPORATED MEMORANDUM OF LAW




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       Pursuant to Federal Rule of Criminal Procedure 17(a), non-party Michael Gronager

moves to quash the purported subpoena for testimony served on him by defendant Sterlingov.

I.     PRELIMINARY STATEMENT

       On May 5, 2023, defendant Sterlingov purported to serve a second subpoena on non-

party Michael Gronager, Co-founder and CEO of Chainalysis Inc. (“Chainalysis”). This

subpoena comes after defendant’s November 18, 2022 subpoenas served on non-parties

Chainalysis and several of its executives and employees, including Mr. Gronager. The

government and the Chainalysis non-parties moved to quash those subpoenas under Federal Rule

of Criminal Procedure 17(c). (ECF Nos. 93, 95.) Their motions remain pending.

       This time, defendant Sterlingov demands Mr. Gronager’s testimony at a Daubert hearing

to be held June 23, 2023. 1 Mr. Gronager is not an expert witness in this case. His testimony can

have no bearing on the qualifications of the government’s expert witness, Elizabeth Bisbee.

Defendant Sterlingov’s counsel intend to question Mr. Gronager about Mt. Gox data and

Chainalysis’ Reactor software. But questioning Mr. Gronager about Mt. Gox data and Reactor

can have no relevance in qualifying Ms. Bisbee. The focus of a Daubert hearing is on the

expert’s methodology, not on a third party’s understanding of data that was not even used by an

expert. As stated in her expert report, the government requested that Ms. Bisbee analyze the

aggregate flow of funds between Bitcoin Fog and eight services, none of which included Mt.

Gox. None of Ms. Bisbee’s expert analysis or conclusions relate to Mt. Gox. As for Reactor,

Ms. Bisbee will herself be available to testify about her methodology. Nor would questioning

Mr. Gronager about the potential bias of Ms. Bisbee, a Chainalysis employee, have any


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 Initially, defendant Sterlingov subpoenaed Mr. Gronager to testify on June 16 and 23, 2023.
Subsequently, defense counsel clarified that they would limit the subpoena to the hearing on
June 23, 2023.


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relevance in qualifying her. Potential bias goes to the weight, not the admissibility, of

Ms. Bisbee’s testimony. Mr. Gronager’s testimony would also have no bearing on motions in

limine, which address purely legal issues on the admission of evidence.

        Mr. Gronager’s testimony has no relevance whatsoever to any task before the Court at the

upcoming hearing. We are unaware of any court that has relied on a non-expert’s testimony as

part of the qualification process under Daubert or asked for a third-party witness’ testimony to

decide a motion in limine.

        Defendant’s request is at bottom a recurring episode in its harassment of Chainalysis.

Having been thus far unsuccessful at obtaining documents or testimony from the Rule 17(c)

subpoenas issued in November 2022, defendant again attempts to circumvent the Rules of

Criminal Procedure in obtaining testimony to serve ends outside of this case. As with the

November 2022 subpoenas, this subpoena is designed to obtain irrelevant discovery and harass

Chainalysis and its executives. Defendant’s counsel have continued to disparage Chainalysis

publicly and have reiterated their intent to “sue the crap out of Chainalysis” following the

conclusion of this criminal trial. Those motives do not provide a proper basis for any subpoena,

much less one demanding testimony at a hearing to qualify an expert witness.

        This Court should quash the subpoena served on Mr. Gronager.

II.     BACKGROUND

        A fuller recitation of the relevant procedural background is contained in the Chainalysis

non-parties’ Motion to Quash Subpoena, filed December 9, 2022. (ECF No. 95 at 2-4.)

Mr. Gronager presumes that the Court is familiar with this background and only highlights select

details here.

        On January 31, 2023, the Court set a Daubert hearing for June 16 and 23, 2023. (Jan. 31,




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2023 Minute Order.) In addition, there are a number of pending motions in limine filed by the

Parties. (ECF Nos. 59, 60, 62, 63, 64, 65, 66.) We understand that the Court may address these

motions at the June 16 and 23 hearing.

       The government has noticed Elizabeth Bisbee as an expert witness in virtual currency and

blockchain analysis. (ECF No. 61 at 7-8, ECF No. 124-2.) Ms. Bisbee is a former Drug

Enforcement Administration subject matter expert in virtual currency investigations. Since

January 2021, she is Director of Investigation Solutions for Chainalysis. (ECF No. 124-2 at 1.)

The government has disclosed that Ms. Bisbee is expected to testify on blockchain analysis.

This testimony will explain how blockchain information can be used to trace transactions,

including by identifying “clusters” of addresses held by the same individual or entity. (Id. at 2.)

Ms. Bisbee is expected to testify regarding the clusters that are associated with various darknet

marketplaces and the flow of funds between these darknet markets. (Id.) Ms. Bisbee is expected

to testify at the hearing on June 16 or 23. Her expert report listed eight services which interacted

with Bitcoin Fog, none of which included Mt. Gox.

       Mr. Gronager is the Co-founder and CEO of Chainalysis. He has not been noticed as an

expert witness by either side. On November 18, 2022, defendant Sterlingov purported to serve

subpoenas on Mr. Gronager, other Chainalysis employees, and Chainalysis itself demanding

documents and testimony in 81 broad categories. (See ECF No. 95-1.) Defendant failed to seek

leave of the Court before serving these subpoenas. On December 9, 2022, these non-parties

moved to quash these subpoenas as improper under Federal Rule of Criminal Procedure 17(c).

(ECF No. 95.) The government also moved to quash these subpoenas. (ECF No. 93.) The

Court will address these motions to quash on June 16, 2023. (May 25, 2023 Minute Order.)

       On May 5, 2023, defendant Sterlingov purported to serve a second subpoena on




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Mr. Gronager, seeking testimony at the June 16 and 23 hearing. (See Ex. A.) The subpoena did

not specify the relevance of Mr. Gronager’s testimony at a Daubert hearing nor was it

accompanied by any communication that did so. Defense counsel later requested

Mr. Gronager’s testimony on June 23 only. Counsel for defendant Sterlingov stated their

intention to question Mr. Gronager on (1) the authenticity of Mt. Gox records and

(2) Chainalysis’ Reactor software in the context of pending motions in limine and the

qualification of Ms. Bisbee as an expert witness.

III.   LEGAL STANDARDS

       “Federal Rule of Criminal Procedure 17(a) governs subpoenas ad testificandum in

criminal proceedings.” United States v. Riego, 2022 WL 4182431, at *2 (D.N.M. Sept. 13,

2022). “Although Rule 17(a) . . . does not provide explicitly for quashal or modification, courts

routinely have entertained motions seeking such relief and decided them by reference to

comparable principles. Specifically, a subpoena ad testificandum survives scrutiny if the party

serving it can show that the testimony sought is both relevant and material.” Stern v. United

States Dist. Ct., 214 F.3d 4, 17 (1st Cir. 2000). “Where the sought testimony is cumulative or

immaterial, a court does not abuse its discretion by quashing a Rule 17(a) subpoena.” United

States v. Bebris, 4 F.4th 551, 559 (7th Cir.), cert. denied, 142 S. Ct. 489 (2021). In other words,

“[r]oughly the same standard applies to subpoenas compelling the attendance of witnesses” as to

subpoenas duces tecum. Stern, 214 F.3d at 17. That standard requires that the subpoena “clear

three hurdles: (1) relevancy; (2) admissibility; (3) specificity.” United States v. Nixon, 418 U.S.

683, 700 (1974). “The specificity requirement ensures that a Rule 17(c) subpoena will not be

used as a fishing expedition to see what may turn up.” United States v. Libby, 432 F. Supp. 2d

26, 32 (D.D.C. 2006) (citation omitted). A defendant must “demonstrate with requisite




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specificity” that the testimony is “material and essential to the defense.” United States v. North,

713 F. Supp. 1448, 1449 (D.D.C. 1989). The burden of “satisfy[ing these] exacting standards”

falls “on the party requesting the information.” Cheney v. United States Dist. Ct., 542 U.S. 367,

386 (2004).

IV.    ARGUMENT

       A.      Mr. Gronager’s Testimony Is Irrelevant to Qualifying Any Expert
               Witness and Irrelevant to Deciding Motions in limine

       Defendant’s subpoena should be quashed because Mr. Gronager’s testimony is quite

simply irrelevant to qualifying an expert witness or to deciding motions in limine. The focus of

the Daubert hearing is Ms. Bisbee’s qualifications to testify as an expert at trial. Mr. Gronager is

not himself an expert witness. We have identified no case in which a person who is not a noticed

expert has been required to appear at a Daubert hearing. Motions in limine decide purely legal

issues and no third-party testimony should be required.

       A Daubert hearing tests an expert’s qualifications and the reliability of the expert’s

methodology. In an earlier filing, defendant argued that Mr. Gronager’s testimony may be

relevant to “challenge the authenticity, integrity and credibility of Ms. Bisbee’s proffered

testimony and evidence.” (ECF No. 103 at 12.) Because Ms. Bisbee “did not generate the data

that she is basing her expert opinions on,” defendant claims, Mr. Gronager’s testimony is

necessary. (Id.) This argument is misplaced. First, the focus of a Daubert hearing is on the

reliability of the expert’s methodology, not on those who may have generated the data.

“Reliability under Rule 702 is a question concerning the expert’s methods, not the method of

obtaining the underlying data by non-experts.” United States v. Perocier, 269 F.R.D. 103, 114

(D.P.R. 2009) (rejecting argument that a party should call “witnesses who could testify to the

authenticity and reliability of the data underlying [the expert’s] opinion”). Second, to the extent



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the defendant disagrees with Ms. Bisbee’s choice of data, that is a potential subject for cross-

examination of Ms. Bisbee but not grounds for exclusion. “[T]he party offering the expert

need not prove that the expert’s opinions are correct but rather that the expert is a qualified

person who has reached his opinions in a methodologically reasonable manner.” Walen v.

United States, 2019 WL 4261160, at *14 (D.D.C. Sept. 9, 2019). In any event, Ms. Bisbee’s

expert analysis and conclusions do not relate to Mt. Gox at all. Mr. Gronager has nothing to add

to this line of inquiry and his testimony is accordingly irrelevant.

       If defendant Sterlingov argues that Mr. Gronager’s testimony is necessary to understand

the functionality of Chainalysis’ Reactor software that, too, would be irrelevant to any necessary

legal inquiry at the June 23 hearing. Ms. Bisbee can testify about her methods, including use of

Reactor and how the software identifies “clusters” of Internet addresses. Testimony by

Mr. Gronager or anyone else on this subject would be cumulative. Indeed, if Mr. Gronager’s

testimony on Reactor were somehow relevant, so would the testimony of every Chainalysis

employee. “Where the sought testimony is cumulative or immaterial, a court does not abuse its

discretion by quashing a Rule 17(a) subpoena.” Bebris, 4 F.4th at 559. Nor is it clear that

Reactor’s identification of addresses associated with defendant Sterlingov is even in dispute.

Mr. Sterlingov has stated that he used Bitcoin Fog to “mix” funds. (Jan. 31, 2023 Hr’g Tr. at

16:8-20.)

       Defendant may also argue that Ms. Bisbee’s bias should be tested because she is a

Chainalysis employee. Defendant has gone on at great length in its filings about the “profit

motive” that could lead to what it calls “confirmation bias” (ECF 103 at 14) and Chainalysis’

reliance on outside investors who “focus on returns, not justice” (ECF 125 at 7). Those

arguments are also irrelevant at the June 16 and 23 hearing. Sources of potential bias may be




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proper subjects for cross-examination of Ms. Bisbee at trial, but bias is not a relevant inquiry

when determining whether an expert should be excluded. See, e.g., Houlahan v. World Wide

Ass’n of Specialty Programs & Sch., 2007 WL 4730934, at *5 (D.D.C. May 30, 2007) (denying

motion to exclude expert because “concerns . . . about [an expert’s] bias, are fodder for cross

examination and impeachment but do not warrant exclusion”). Nor can Chainalysis’ business

model or outside investors be of any possible relevance in deciding motions in limine. Mr.

Gronager’s testimony is again irrelevant to the decision to permit or exclude Ms. Bisbee’s

testimony.

       On the issue of the authenticity of data, there is no need for Mr. Gronager’s testimony.

Defendant Sterlingov claims that Mr. Gronager was involved in reviewing or generating data for

the Mt. Gox bankruptcy trustee. (ECF 103 at 4, 11-12.) Mr. Gronager’s involvement with any

Mt. Gox data is irrelevant. As the government has disclosed to the defendant, analysis of Mt.

Gox data is derived from a database recovered directly from the Japanese government. (See ECF

No. 62 at 20-22.) Even were that not the case, testimony from Mr. Gronager to resolve a motion

in limine on the authenticity of Mt. Gox data would be inappropriate. “In light of their limited

purpose, motions in limine should not be used to resolve factual disputes.” Barnes v. Dist. of

Columbia, 924 F. Supp. 2d 74, 78 (D.D.C. 2013) (internal quotation marks and citation omitted).

Mr. Gronager’s anticipated testimony would therefore be irrelevant.

       As for the specificity requirement, defendant Sterlingov has so far provided only the most

general description of the anticipated subjects of Mr. Gronager’s testimony. It is precisely this

broad-brush approach that the law prohibits in compelling testimony. A Rule 17 subpoena “is

not intended as a general ‘fishing expedition.’” Nixon, 418 U.S. at 700; see also Libby, 432 F.

Supp. 2d at 35 (quashing subpoena where “defendant is simply seeking to examine general




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categories of documents with the hope that they contain information that may be helpful to his

defense”). Defendant’s subpoena should be quashed for failing to satisfy the Nixon

requirements.

         B.     Defendant’s Second Subpoena Continues to Harass Mr. Gronager
                and Chainalysis

         This subpoena continues defendant’s counsel’s harassment of Chainalysis. Rule 17(c)(2)

authorizes this Court to quash defendant’s subpoenas “if compliance would be unreasonable or

oppressive.” “A subpoena that fails to satisfy these three [Nixon] requirements will be deemed

unreasonable or oppressive.” Libby, 432 F. Supp. 2d at 31. In addition, Courts have explained

that “a subpoena may still be unreasonable or oppressive if it is . . . abusive or harassing.” In re

Grand Jury Subpoena for THCF Med. Clinic Recs., 504 F. Supp. 2d 1085, 1088 (E.D. Wash.

2007).

         There is no doubt that defendant’s counsel have their sights set on Chainalysis after this

trial is over. Defendant’s counsel have threatened multiple times to bring litigation against

Chainalysis, and they are abusing the subpoena power of the Court to further that end. In his

cover letter to the November 18, 2022 subpoenas, Mr. Ekeland alluded to bringing a malicious

prosecution case against Chainalysis. (ECF 97-1 at 3.) He and his co-counsel have repeatedly

called Chainalysis the “Theranos of blockchain analysis.” Lily Hay Newman & Andy

Greenberg, Bitcoin Fog Case Could Put Cryptocurrency Tracing on Trial, WIRED (Aug. 2,

2022), https://www.wired.com/story/bitcoin-fog-roman-sterlingov-blockchain-analysis/; see also

Mike Hassard (@mikehassard), Twitter (Nov. 18, 2022),

https://twitter.com/mikehassard/status/1593843340931481600. And in a recent podcast,

defendant’s counsel threatened to “sue the crap out of” Chainalysis after defendant’s trial

concludes. The Vonu Podcast, TVP #184: ChainAnalysis [sic] Coercion & Quack Science: The



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Troubling Case of Roman Sterlingov with Tor Ekeland, Mike Hassard, & SW from Samourai

Wallet (Apr. 29, 2023), at 1:00:02-1:00:13, https://podcasts.apple.com/us/podcast/the-vonu-

podcast/id1196082587?i=1000611135399. Defendant’s counsel doubtless hope to use testimony

from Chainalysis’ CEO to further these ends. Needless to say, a Daubert hearing is not the

appropriate forum for pursuing these goals.

       Defendant also appears to be circumventing the pending motions on his earlier Rule 17(c)

subpoenas by demanding the same testimony in the context of a Daubert hearing. Mr. Gronager

and the other Chainalysis non-parties explained in their motion to quash those subpoenas that the

subpoenas were improper. (ECF 95.) Defendant has done nothing to explain why qualification

of an expert or motions in limine would require testimony from Mr. Gronager on the same

subjects that he has failed to show are relevant, admissible, or specific.

       The Court should quash defendant’s subpoena for this additional reason.

V.     CONCLUSION

       It is respectfully submitted that the Court should quash the subpoena for testimony issued

by defendant to Mr. Gronager.

       Dated this 26th day of May, 2023.



                                               Respectfully submitted,

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